                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JOHANNA TARKELA,

        Plaintiff,                                          Case No.: 1:24-cv-01036

 v.                                                         Judge Jorge L. Alonso

 THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                  DEFENDANT
               159                                    NBS SHOP
               103                                    Artsplving
                 5                                      Ditana
                77                                     newsight
                92                                    Elisha Sirw
                 4                                  XJLD-US Mall
                32                                   ToBe-Unique
               181                                     suzho888
               117                                  IFREE STORE
               160                                 Special creative
                24                   Xiangchengshimogannashangmaoyouxiangongsi
                12                   Xiangchengshizhongqiushangmaoyouxiangongsi
               169                                     YAMEN
                99                                   Artunion-US
                10                                 WENRUIKUDE
                 3                                      ALOTS
               174                                      BBQIN
                94                                      UNIME
               119                                QJUHUNG Co. Ltd
                43                                    Yazzy Store


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              45                   Levises Shop
             163                    XUNTUOO
             179                  ThuThuyDesign
              66                    Dewdrops s
             102                   JesMolla US
             101                  AOKLLA Store
              25                      Gdmoon
              79             LAOLIUSN-ARORALS
             156          Yanzi Process Production Facto
              18                      Aiterwu
              62                   Mavis Laven
              63                      Lisopiu
              64                    U.Tenweet
              65                      Dedalan
              67                     Tatamont
             164                 WarmHomeShop
             168                    Smiling Sir
              19       yiwushijimeidianzishangwushanghang
             171                       STFS
             123                FIYO ART STORE
             147           FIYO Diamond Painting Art
             180            Wholesale Products Store
             162                   Stateless Kids
             175              bedding*factory*store
             177           wholesale*factory*store888


DATED: April 5, 2024           Respectfully submitted,

                               /s/ Keith A. Vogt
                               Keith A. Vogt (Bar No. 6207971)
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                               ATTORNEY FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 5, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt




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